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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      CASE NO. 1:19-CV-22762

  CARLOS ALFARO; and HENRIETTA I. CLASS ACTION
  EGBUNIKE, on behalf of themselves and all
  others similarly situated,                (JURY TRIAL DEMANDED)
          Plaintiffs,


  v.

  BANK OF AMERICA, N.A.; and BANK OF
  AMERICA CORPORATION,
          Defendants.

                                  CLASS ACTION COMPLAINT
         Plaintiffs Carlos Alfaro and Henrietta I. Egbunike, individually and on behalf of all others
  similarly situated, complain and allege as follows based on personal knowledge as to themselves,
  on the investigation of their counsel, and on information and belief as to all other matters:
                                       NATURE OF ACTION
         1.      Plaintiffs bring this Class Action Complaint against Bank of America, N.A. and
  Bank of America Corporation (collectively, “Bank of America” or “Defendant”) for legal and
  equitable remedies resulting from Bank of America’s practices of assessing 3% “international
  transaction fees” for domestic debit card transactions with PayPal, in breach of the plain language
  of the Deposit Agreement and Personal Schedule of Fees, the contractual documents that govern
  Bank of America’s relationship with all of its accountholders.
         2.      At all times during the relevant five-year period preceding the filing of this action,
  Bank of America promised its account holders that it would only assess 3% international
  transaction fees to debit card transactions made in foreign currencies or with foreign merchants,
  and for debit card transactions made on the Internet that are processed by merchants in foreign

  countries.



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         3.      Despite these contractual promises, Bank of America routinely assesses its
  customers 3% international transaction fees for online debit card transactions made in U.S. dollars
  with PayPal, a U.S. company, from within the United States, all of which are processed by PayPal
  in the United States through acquiring banks located in the United States. By assessing
  international transaction fees to transactions that are not made in a foreign currency or in a foreign
  country, not made with a foreign merchant, and not processed in a foreign country, Bank of
  America breached the Deposit Agreement, damaging Plaintiffs and the other members of the Class
  monetarily.
         4.      For people living paycheck to paycheck, like Plaintiffs and the other members of
  the Class, these improperly-assessed fees have had a serious effect on their everyday lives.
         5.      Plaintiffs bring this action to recover all of the improperly-assessed international
  transaction fees that Bank of America has siphoned out of its customers’ personal checking

  accounts over the past five (5) years in connection with PayPal debit card transactions, and for
  other legal and equitable remedies.
                                   JURISDICTION AND VENUE
         6.      The Court has original jurisdiction over this action pursuant to the Class Action
  Fairness Act of 2005, 28 U.S.C. §§ 1332(d)(2) & (6), because the proposed class is comprised of
  over 100 class members, because the claims of the putative class members exceed $5 million in
  the aggregate, exclusive of interest and costs, and because at least one member of the proposed

  class is a citizen of a different state than Bank of America.
         7.      Personal jurisdiction and venue are proper in Florida and within this District
  because Plaintiffs are residents and citizens of Florida; because Plaintiffs’ Bank of America
  checking accounts were opened, and are presently maintained, at Bank of America financial
  centers located in Florida and within this District; because Plaintiffs’ claims alleged herein arose
  in substantial part in Florida and within this District; and because Bank of America does substantial
  business in Florida and throughout this District.


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                                               PARTIES
          8.      Plaintiff Carlos Alfaro is a citizen and resident of Miami, Florida. At all times
  mentioned herein, Plaintiff Alfaro has maintained a personal checking account with Bank of
  America that was opened at a Bank of America branch located in Florida and within this District.
          9.      Plaintiff Henrietta I. Egbunike is a citizen and resident of Doral, Florida. At all
  times mentioned herein, Plaintiff Egbunike has maintained a personal checking account with Bank
  of America that was opened at a Bank of America branch located in Florida and within this District.
          10.     Bank of America is a national bank that maintains its corporate headquarters and
  principal place of business in Charlotte, North Carolina. Bank of America provides, inter alia,
  retail banking products and services to consumers, including personal checking accounts and debit
  cards. Bank of America operates banking centers throughout Florida and the United States.
                   FACTUAL ALLEGATIONS COMMON TO ALL CLAIMS

     I.         THE MECHANICS OF DEBIT CARD PAYMENT PROCESSING
          11.     All e-commerce transactions involve two different banks – one representing the
  cardholder (the “issuing” bank), and one representing the merchant (the “acquiring” bank).
          12.     The issuing bank is the financial institution that issues debit cards to consumers on
  behalf of the card networks (Visa, MasterCard) and underwrites the consumer/accountholder. The
  issuer acts as the middle-man for the consumer and the card network by contracting with the
  cardholders for the terms of the payment of transactions. During any debit card transaction, the

  card issuing bank confirms the account holder is who he says he is, verifies that there are funds in
  the account to cover the purchase, and authorizes the transaction.
          13.     The acquiring bank (also known as the “merchant’s bank”) is the financial
  institution that maintains the bank account of the merchant on the other side of the transaction. The
  acquiring bank enables merchants to process debit card transactions because the acquiring bank
  underwrites the merchant and passes the merchant’s transactions along to the applicable
  issuing banks to receive payment. The acquiring bank also assigns a Merchant Identification
  Number (MID) to each merchant whose bank account is maintained at the acquiring bank; this
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  unique code is similar to a bank account number and it’s used to identify the merchant while
  processing transactions.
           14.     At the conclusion of each debit card transaction, the acquirer accepts payment from
  the issuer and deposits the received funds into the merchant’s account at the acquiring bank.

     II.         APPLICABLE CONTRACTUAL PROVISIONS
           15.     Bank of America’s relationship with Plaintiffs and the other members of the Class
  has at all times mentioned herein been governed by the Deposit Agreement – a standardized
  contract for deposit accounts, the terms of which are drafted by Bank of America, amended by
  Bank of America from time to time at its convenience and sole and complete discretion, and
  imposed by Bank of America on all of its customers. See Compl., Exhibit A at 2 (“You understand
  that these terms, as we may change or supplement them periodically, are a binding contract
  between you and us for your deposit account and your deposit relationship.”).

           16.     The Deposit Agreement expressly incorporates by reference a document entitled
  “Schedule of Fees” (see Compl., Ex. A at 2 (“The Schedule of Fees lists our accounts and account
  fees”), which identifies the types and amounts of various fees that Bank of America assesses to
  personal deposit account holders and describes the circumstances in which Bank of America is
  permitted to assess each such fee. See Compl., Exhibit B.
           17.     For over the past 25 years, Bank of America has issued debit cards to its personal
  checking account customers, including to Plaintiffs and the members of the Class, which may be

  used “to pay for purchases at merchants that accept debit cards” (Ex. A at 1), both online and in
  person, from both within and outside of the United States. The policies for using such cards, and
  the fees that may be assessed by Bank of America as a result of using them, are collectively set
  forth in the Deposit Agreement and the Schedule of Fees.
           18.     The Deposit Agreement explains the way in which Bank of America processes
  debit card transactions with “merchants” as follows: “When you use your debit card you authorize
  the merchant with whom you use your card or to whom you previously provided your information
  to ask Bank of America to approve the transaction you want to make. At this time, in order for the
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  transaction to go through, we must promise the merchant to pay for the purchase upon the
  merchant’s request.” (Id. at 18.) Thus, “[y]our debit card transaction is paid when the merchant
  presents it to Bank of America for payment – that is, when the merchant asks us to transfer the
  funds from your account to the merchant.” (Id. at 18.)
             19.     The Personal Schedule of Fees states certain debit card transactions are subject to
  an “International Transaction Fee” of “3% of the U.S. dollar amount of the transaction.” (Ex. B at
  9.) The Personal Schedule of Fees provides that “International Transaction Fees” will only apply
  to debit card purchases made under the following circumstances:

                     •   Fee applies if you use your card to purchase goods or services in
                         a foreign currency or in U.S. dollars with a foreign merchant (a
                         “Foreign Transaction”). Foreign Transactions include internet
                         transactions made in the U.S. but with a merchant who processes
                         the transaction in a foreign country.
  (Id.)

      III.         BANK OF AMERICA ROUTINELY ASSESSES 3% INTERNATIONAL
                   TRANSACTION FEES TO DEBIT CARD TRANSACTIONS MADE IN THE
                   U.S. AND IN U.S. DOLLARS WITH PAYPAL, A DOMESTIC MERCHANT
             20.     As the financial institution that issues debit cards to its accountholders on behalf of
  the card networks (Visa, MasterCard, etc.), Bank of America is the “issuing bank” in all purchases
  that its accountholders make with Bank of America-issued debit cards.
             21.     PayPal is a domestic, U.S.-based merchant. PayPal maintains merchant accounts
  with various acquiring banks in the United States. All debit card transactions made by consumers

  with PayPal from within the United States are processed by one of PayPal’s U.S.-based acquiring
  banks, in U.S. dollars, within the United States. All debit card transactions made by consumers
  with PayPal from within the United States were, at all times relevant to this action, associated with
  an MID number that was assigned to PayPal and which corresponded to PayPal’s merchant
  account at one of its acquiring banks.
             22.     At the conclusion of each debit card transaction a consumer makes with PayPal
  from within the United States – in order to pay for goods or services with a business that may be
  located anywhere in the world – the funds paid by the consumer are received by PayPal’s U.S.-
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  based acquiring bank and deposited into PayPal’s U.S.-based merchant account at the acquiring
  bank.
           23.     Accordingly, all PayPal debit card transactions that consumers make from within
  the United States – in order to pay businesses located throughout the world that have contracted
  with PayPal to receive their payments – are made with and processed by PayPal, a domestic
  merchant with a merchant account at a U.S.-based acquiring bank. Accordingly, no debit card
  transactions made with PayPal from within the United States are “processed in a foreign country”
  or constitute transactions made with a “foreign merchant.”
           24.      Despite the fact that all debit card transactions with PayPal made by U.S.-based
  consumers from within the United States are processed in U.S. dollars by PayPal’s acquiring banks
  in the United States, Bank of America routinely classifies PayPal debit card transactions made by
  U.S. consumers from within the United States as “foreign transactions,” and then systematically

  subjects all such improperly-classified transactions to the 3% “international transaction fee.”

     IV.         PLAINTIFFS’ EXPERIENCES
           25.     Plaintiffs are both United States citizens and residents of Florida who maintain
  Bank of America personal deposit accounts at Bank of America financial institutions in Florida.
           26.     On October 20, 2014, while accessing the Internet from within the United States,
  Plaintiff Alfaro performed a debit card transaction with PayPal in the amount of $81.40. Plaintiff
  Alfaro’s $81.40 PayPal transaction on October 20, 2014 was performed on the Internet from within

  the United States, and was processed by a U.S.-based acquiring bank on behalf of PayPal, a U.S.-
  based company, in the United States. This transaction was associated with an MID number that
  was assigned to PayPal and corresponded to PayPal’s merchant account at its acquiring bank.
  Upon Plaintiff Alfaro’s initiation of the $81.40 transaction with his Bank of America debit card,
  PayPal’s acquiring bank processed the transaction in the United States and received payment for
  the transaction from Bank of America, the issuing bank, in funds that had been debited from
  Plaintiff Alfaro’s Bank of America checking account.          PayPal’s acquiring bank thereafter
  deposited the $81.40 that had been debited from Plaintiff Alfaro’s checking account at Bank of
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  America into PayPal’s merchant account at the acquiring bank. PayPal’s bank account at the
  acquiring bank, into which the $81.40 was deposited, is located in the United States. Because
  Plaintiff Alfaro paid $81.40 to PayPal in U.S. dollars using his Bank of America debit card on
  October 20, 2014 from within the United States, and because PayPal processed Plaintiff Alfaro’s
  transaction by way of an acquiring bank located in the United States, Plaintiff Alfaro’s $81.40
  transaction was not “processe[d] in a foreign country” and was not made to purchase “goods or
  services . . . with a foreign merchant” or in a “foreign currency.” Nonetheless, later in the day on
  October 20, 2014, Bank of America assessed an international transaction fee of $2.44 to Plaintiff
  Alfaro’s account, attributable to the $81.40 transaction Plaintiff Alfaro had performed with PayPal.
         27.     On January 5, 2016, while accessing the Internet from within the United States,
  Plaintiff Egbunike performed a debit card transaction with PayPal in the amount of $3.78. Plaintiff
  Egbunike’s $3.78 PayPal transaction on January 5, 2016 was performed on the Internet from

  within the United States, and was processed by a U.S.-based acquiring bank on behalf of PayPal,
  a U.S.-based company, in the United States. This transaction was associated with an MID number
  that was assigned to PayPal and corresponded to PayPal’s merchant account at its acquiring bank.
  Upon Plaintiff Egbunike’s initiation of the $3.78 transaction with her Bank of America debit card,
  PayPal’s acquiring bank processed the transaction in the United States and received payment for
  the transaction from Bank of America, the issuing bank, in funds that had been debited from
  Plaintiff Egbunike’s Bank of America checking account. PayPal’s acquiring bank thereafter

  deposited the $3.78 that had been debited from Plaintiff Egbunike’s checking account at Bank of
  America into PayPal’s merchant account at the acquiring bank. PayPal’s bank account at the
  acquiring bank, into which the $3.78 was deposited, is located in the United States. Because
  Plaintiff Egbunike paid $3.78 to PayPal in U.S. dollars using her Bank of America debit card on
  January 5, 2016 from within the United States, and because PayPal processed Plaintiff Egbunike’s
  transaction by way of an acquiring bank located in the United States, Plaintiff Egbunike’s $3.78
  transaction was not “processe[d] in a foreign country” and was not made to purchase “goods or
  services . . . with a foreign merchant” or in a “foreign currency.” Nonetheless, later in the day on
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  January 5, 2016, Bank of America assessed an international transaction fee of $0.11 to Plaintiff
  Egbunike’s account, attributable to the $3.78 transaction Plaintiff Egbunike had performed with
  PayPal.
                                      CLASS ALLEGATIONS
         28.     Plaintiffs bring this action on behalf of themselves and all others similarly situated
  pursuant to Rule 23 of the Federal Rules of Civil Procedure. This action satisfies the numerosity,
  commonality, typicality, adequacy, predominance, and superiority requirements of Rule 23.
         29.     The proposed Class is defined as:

                 All individuals in the United States who, at any time between July
                 3, 2014 and the date of any order granting class certification, held a
                 personal checking account with Bank of America that was assessed
                 (and was not refunded by Bank of America) an “international
                 transaction fee” attributable to a debit card transaction made on the
                 Internet with PayPal, in U.S. dollars, from within the United States.
         30.     Plaintiffs reserve the right to modify or amend the definition of the proposed Class
  before the Court determines whether certification is appropriate.
         31.     Excluded from the Class are Bank of America, its parents, subsidiaries, affiliates,
  officers and directors, any entity in which Bank of America has a controlling interest, all customers
  who make a timely election to be excluded, governmental entities, counsel for the parties, and all
  judges assigned to hear any aspect of this litigation, as well as their immediate family members.
         32.     The members of the Class are so numerous that joinder is impractical.             On
  information and belief, the Class consists of millions of members, the identities of whom are within

  the knowledge of Bank of America and can be ascertained only by resort to Bank of America’s
  records.
         33.     The claims of the representative Plaintiffs are typical of the claims of the Class in
  that the representative Plaintiffs, like all Class members, were charged international transaction
  fees by Bank of America between July 3, 2014 through the present for PayPal debit card
  transactions made from within the United States. Plaintiffs, like all Class members, have been
  damaged by Bank of America’s misconduct in that they were assessed international transaction

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  fees in breach of the governing Deposit Agreement. Furthermore, the factual basis of Bank of
  America’s misconduct is common to all Class members and represents a common thread of
  unlawful, unfair, and unconscionable conduct resulting in injury to all members of the Class.
         34.     There are numerous questions of law and fact common to the Class and those
  common questions predominate over any questions affecting only individual Class members.
  Among the questions of law and fact common to the Class are:
                 a. whether Bank of America assessed international transaction fees for
                     debit card transactions made on the Internet with PayPal from within
                     the United States and in U.S. dollars between July 3, 2014 and the
                     present;
                 b. whether PayPal processes such transactions in the United States; and
                 c. whether the assessment of 3% international transaction fees to such
                     transactions constituted breaches of the Deposit Agreement and
                     incorporated Personal Schedule of Fees.
         35.     Other questions of law and fact common to the Class include:
                 a. The proper method or methods by which to measure damages;
                 b. Whether the Class is entitled to interest that has accrued on any
                     improperly assessed international transaction fees; and
                 c. The declaratory relief to which the Class is entitled.

         36.     Plaintiffs’ claims are typical of the claims of other Class members in that they arise
  out of the same Bank of America policies pursuant to the same governing Deposit Agreement and
  other related documents in effect between July 3, 2014 and the present, and arise out of the same
  conduct and practices of Bank of America in assessing international transaction fees for debit card
  transactions with PayPal made online and from within the United States and in U.S. dollars.
  Plaintiffs have no interests antagonistic to the interests of any other Class member.
         37.     Plaintiffs are committed to the vigorous prosecution of this action and have retained
  competent counsel experienced in the prosecution of consumer class actions. Accordingly,
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   Plaintiffs are adequate representatives and will fairly and adequately protect the interests of the
   Class.
            38.   A class action is superior to other available methods for the fair and efficient
   adjudication of this controversy. Since the amount of each individual Class member’s claim is
   small relative to the complexity of the litigation, and due to the enormity of the financial resources
   of Bank of America, no Class member could afford to seek legal redress individually for the claims
   alleged herein. Therefore, absent a class action, Class members would lose their rights by attrition.
            39.   Even if Class members could afford such individual litigation, the court system
   could not. Given the complex nature of the issues involved in this action, individualized litigation
   would significantly delay and cause expense to all parties and the Court. Individualized litigation
   would also create the potential for inconsistent or contradictory rulings. By contrast, a class action
   presents far fewer management difficulties, allows claims to be heard which might otherwise go

   unheard because of the relative expense of bringing individual lawsuits, and provides the benefits
   of adjudication, economies of scale, and comprehensive supervision by a single court.

                                          CAUSE OF ACTION
                                      BREACH OF CONTRACT
                        (By Plaintiffs Individually and On Behalf of the Class)
            40.   Plaintiffs repeat and incorporate herein all allegations from paragraphs 1-39 above.
            41.   Plaintiffs and all members of the Class contracted with Bank of America for bank
   account deposit, checking, ATM, and debit card services, as embodied in Bank of America’s

   Deposit Agreement, Personal Schedule of Fees, and related account documentation in effect at all
   times between July 3, 2014 and the present.
            42.   In plain, clear, and simple language, in the Deposit Agreement, Personal Schedule
   of Fees, and related account documentation in effect between July 3, 2014 and the present, Bank
   of America promised Plaintiffs and all other members of the Class that it would only assess
   international transaction fees for transactions made in foreign currencies or with foreign



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   merchants, and for transactions made on the Internet from within the United States that were
   processed in foreign countries.
          43.     Bank of America breached the express terms of the Deposit Agreement and related
   account documentation in effect between July 3, 2014 and the present when it assessed
   international transaction fees for PayPal debit card transactions that were made by Plaintiffs and
   the other members of the Class on the Internet, from within the United States, and in U.S. dollars,
   and which were processed by PayPal, a U.S.-based merchant, in the United States, between July
   3, 2014 and the present.
          44.     Plaintiffs and members of the Class have performed all of the obligations imposed
   on them under the Deposit Agreement and related documentation in effect between July 3, 2014
   and the present.
          45.     Plaintiffs and members of the Class sustained monetary damages between July 3,

   2014 and the present as a result of Bank of America’s breaches of the Deposit Agreement and
   related account documentation in effect between July 3, 2014 and the present.
                                       PRAYER FOR RELIEF
          WHEREFORE, Plaintiffs Carlos Alfaro and Henrietta I. Egbunike, individually and on
   behalf of the proposed Class, demand a jury trial on all claims so triable and judgment as follows:
          A.      Declaring Bank of America’s international transaction fee practices described
   above to be wrongful, unfair, and unconscionable, and in breach of the Deposit Agreement;

          B.      Awarding actual damages and restitution in an amount according to proof for all
   international transaction fees collected by Bank of America for PayPal debit card transactions in
   breach of the Deposit Agreement;
          C.      Awarding costs and disbursements assessed by Plaintiffs in connection with this
   action, including reasonable attorneys’ fees pursuant to applicable law; and
          D.      Awarding such other relief as this Court deems just and proper.




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                                       JURY TRIAL DEMAND
          Plaintiffs, on behalf of themselves and the Class, hereby demand a trial by jury pursuant to
   Federal Rule of Civil Procedure 38(b) on all claims so triable.

   Dated: July 3, 2019                          Respectfully submitted,

                                                By: s/ Frank S. Hedin                .
                                                       Frank S. Hedin

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